   Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 1 of 13




                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL                          No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                 MDL No. 2323


THIS DOCUMENT RELATES TO:

Connie Joann Baker, et al. v. National Football   No. 21-cv-01493
League, et al.




            MEMORANDUM OF LAW IN SUPPORT OF NFL PARTIES’
              MOTION TO DISMISS THE COMPLAINT FILED BY
            SETTLEMENT CLASS MEMBER CONNIE JOANN BAKER
    Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 2 of 13




                                                TABLE OF CONTENTS

                                                                                                                                    Page

PRELIMINARY STATEMENT.............................................................................................. 1
BACKGROUND ..................................................................................................................... 2
       A.       Settlement Agreement............................................................................................ 2
       B.       Plaintiffs Baker, the Estate of Donnell Baker, and Donnell Baker’s
                Children ................................................................................................................. 4
ARGUMENT ........................................................................................................................... 6
     I.         PLAINTIFFS’ CLAIMS WERE RELEASED UNDER THE SETTLEMENT
                AGREEMENT AND SHOULD BE DISMISSED ................................................ 6
     II.        PLAINTIFFS’ CLAIMS ARE BARRED BY THE FINAL ORDER AND
                JUDGMENT AND SHOULD BE DISMISSED ................................................... 8
CONCLUSION ...................................................................................................................... 10




                                                                    i
    Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 3 of 13




                                            TABLE OF AUTHORITIES

                                                                                                                          Page(s)
CASES

Chartener v. Provident Mut. Life Ins. Co.,
   No. 02-cv-8045, 2004 WL 1091027 (E.D. Pa. May 13, 2004) .......................................... 9

Connie Joann Baker, et al. v. National Football League, et al.,
   No. 21-cv-01493 (E.D. Pa.) ......................................................................................... 1, 10

In re: Imprelis Herbicide Mktg., Sales Pracs. & Prods. Liab. Litig.,
    No. 11-md-2884, 2015 WL 7575910 (E.D. Pa. Nov. 25, 2015) ........................................ 6

Marmon Coal Co. v. Dir., Office of Workers’ Comp. Programs,
  726 F.3d 387 (3d Cir. 2013) ............................................................................................... 9

McGowan Inv’rs LP v. Keefe Bruyette & Woods, Inc.,
  540 F. Supp. 2d 571 (E.D. Pa. 2008) (Brody, J.) ........................................................... 6, 7

In re Nat’l Football League Players Concussion Injury Litig.,
    821 F.3d 410 (3d Cir. 2016) ........................................................................................... 3, 8

In re: National Football League Concussion Injury Litigation,
    MDL No. 2323 ................................................................................................................... 6

Pyle v. N.Y. Life Ins. Co.,
   No. 07-cv-00360, 2008 WL 11510607 (W.D. Pa. Mar. 19, 2008) ................................ 8, 9

Toscano v. Conn. Gen. Life Ins. Co.,
   288 F. Appx. 36 (3d Cir. 2008) .......................................................................................... 9

OTHER AUTHORITIES

Am. Final Order & J., ECF No. 6534 ...................................................................................... 8

Federal Rules of Civil Procedure 23(c)(2)(B) .......................................................................... 3

Federal Rules of Civil Procedure 23(e) .................................................................................... 3

Order ¶ 2(a), ECF No. 6084 ..................................................................................................... 2

Order ¶ 4, ECF No. 6084 ..................................................................................................... 2, 3




                                                                  ii
   Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 4 of 13




               Defendants the National Football League and NFL Enterprises LLC (the “NFL

Parties”) respectfully submit this memorandum of law in support of their motion to dismiss

the Complaint filed by Settlement Class Member Connie Joann Baker (“Baker”), individually

and on behalf of the Estate of Donnell Baker—Baker’s late husband, who was a former

professional football player—and the decedent’s children (together, the “Plaintiffs”), in

Connie Joann Baker, et al. v. National Football League, et al., No. 21-cv-01493 (E.D. Pa.)

(ECF No. 1).

                              PRELIMINARY STATEMENT

               Plaintiffs’ claims—released under the Class Action Settlement Agreement and

dismissed with prejudice under this Court’s Final Order and Judgment approving it—are

barred by the Settlement Agreement and claim preclusion, and should be dismissed.

               Plaintiffs are each Settlement Class Members who are subject to this Court’s

continuing and exclusive jurisdiction, and who, through the Court-approved Settlement

Agreement, released any claims that “could have been asserted in the Class Action,” as well

as any claims against the NFL Parties and all Released Parties relating to “head, brain and/or

cognitive injury,” “concussions and/or subconcussive events,” “chronic traumatic

encephalopathy” (“CTE”), and loss of consortium.            The Settlement’s notice program

comported with due process and the Federal Rules, and plainly advised Plaintiffs that they

would be bound by the Settlement Agreement’s terms unless they opted out of the Settlement

Class, which Plaintiffs did not do. Nonetheless, they now purport to assert the very claims

that they released in the Settlement. It is well settled that Plaintiffs cannot re-litigate claims

they voluntarily released, and their claims should therefore be dismissed.

               Plaintiffs’ claims are also barred under the doctrine of claim preclusion. The

Final Order and Judgment expressly dismissed all claims that Settlement Class Members,
   Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 5 of 13




including Plaintiffs, asserted or that they “could have . . . asserted in the Class Action

Complaint or in any other Related Lawsuit.” Plaintiffs’ purported claims fall squarely within

the Final Judgment’s dismissal because they allege that Mr. Baker, as a result of playing in

the National Football League (the “NFL”), was “knocked unconscious[] and suffered

numerous concussions” and experienced “countless sub-conclusive hits,” which “[u]pon

[Baker’s] information and belief,” caused his death and symptoms purportedly consistent with

CTE. Thus, the doctrine of claim preclusion bars Plaintiffs’ attempt to re-litigate their claims

now.

                Accordingly, because Plaintiffs’ claims were released by the Settlement and

dismissed by the Final Order and Judgment, they fail to state a claim upon which this Court

may grant relief, and their Complaint should therefore be dismissed.

                                        BACKGROUND

         A.     Settlement Agreement

                On July 7, 2014, this Court issued an order preliminarily approving the Class

Action Settlement between the NFL Parties and the proposed Settlement Class, consisting of:

         All living NFL Football Players who, prior to the date of the Preliminary
         Approval and Class Certification Order [July 7, 2014], retired, formally or
         informally, from playing professional football with the NFL or any Member
         Club . . . (“Retired NFL Football Player”); . . . and [s]pouses, parents, children
         who are dependents, or any other persons who properly under applicable state
         law assert the right to sue independently or derivatively by reason of their
         relationship with a Retired NFL Football Player (‘Derivative Claimants’).

(Order ¶ 2(a), ECF No. 6084; see also Class Action Settlement Agreement (as amended, the

“Settlement Agreement”) §§ 1.1, 2.1, ECF No. 6481-1.) Pursuant to the Court’s order, the

NFL Parties disseminated notice to the Settlement Class, describing, among other things, the

terms of the Settlement Agreement and the deadlines for opting out. (Order ¶ 4, ECF No.

6084.)


                                                 2
   Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 6 of 13




                  After significant briefing and a full fairness hearing, this Court issued its Final

Order and Judgment on April 22, 2015 (as amended on May 8, 2015) approving the Settlement

Agreement, certifying the Settlement Class, and concluding that the settlement notice program

“satisf[ied] the requirements of Federal Rules of Civil Procedure 23(c)(2)(B) and 23(e) [and]

the United States Constitution . . . , and constituted the best notice practicable under the

circumstances.” (Am. Final Order & J. ¶¶ 2–4, 7, ECF No. 6534.) Following an appeal by

certain objectors, the Third Circuit affirmed the Court’s Final Order and Judgment, stating

unequivocally that “the District Court was right to certify the class and approve the

settlement.” In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d 410, 420

(3d Cir. 2016).

                  Under the terms of the Settlement approved by this Court and affirmed by the

Third Circuit, Settlement Class Members had the right to opt out of the class until October 14,

2014. (Order ¶ 4(g), ECF No. 6084.) Those who did not opt out are bound by the Settlement

Agreement’s terms and the Court’s Final Order and Judgment. Pursuant to the Settlement

Agreement, Settlement Class Members “waive[d] and release[d] . . . the Released Parties . . .

from any and all past, present and future claims,” whether “contingent or non-contingent,

known or unknown, suspected or unsuspected, foreseen or unforeseen, matured or unmatured,

accrued or unaccrued, liquidated or unliquidated,” that related in any way to, among other

claims, those (i) “arising out of, or relating to, head, brain and/or cognitive injury, as well as

any injuries arising out of, or relating to, concussions and/or subconcussive events,” (ii)

“arising out of, or relating to, CTE,” or (iii) that “could have been asserted in the Class Action

Complaint or in any Related Lawsuit.” (Settlement Agreement § 18.1(a); Am. Final Order &

J. ¶ 11, ECF No. 6534; see also Am. Final Order & J. ¶ 10 (“expressly incorporat[ing]” the




                                                  3
   Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 7 of 13




Settlement Agreement’s release provisions into the Final Order and Judgment), ECF No.

6534.) This release included but was not limited to “[c]laims for personal or bodily injury,

including . . . wrongful death and/or survival actions.” (Id.) This Court retained “continuing

and exclusive jurisdiction” over the Settlement Agreement and Settlement Class Members,

including “continuing and exclusive jurisdiction to interpret, implement, administer and

enforce the Settlement Agreement.” (Am. Final Order & J. ¶ 17, ECF No. 6534; see also

Settlement Agreement § 27.1 (“Any disputes or controversies arising out of, or related to, the

interpretation, implementation, administration, and enforcement of this Settlement Agreement

will be made by motion to the Court. In addition . . . each Settlement Class Member [is]

hereby deemed to have submitted to the exclusive jurisdiction of this Court for any suit, action,

proceeding, or dispute arising out of, or relating to, this Settlement Agreement.”).) Finally,

the Court’s Final Order and Judgment expressly incorporated the Settlement Agreement’s

terms and dismissed with prejudice the claims asserted, or that could have been asserted, in

the Class Action Complaint and all “Related Lawsuits,” a term covering all actions, including

Plaintiffs’ action here, “brought by one or more Releasors against one or more Released

Parties pending in the Court.” (Settlement Agreement § 2.1(zzz); see also Am. Final Order

& J. ¶ 8, 15–16, ECF No. 6534.)

       B.      Plaintiffs Baker, the Estate of Donnell Baker, and Donnell Baker’s
               Children

               Baker’s deceased spouse, Donnell Baker, was a Retired NFL Football Player

who played NFL football from 1994 to 1998. (See Baker Compl. ¶¶ 1, 18.) Mr. Baker had

two children, D.J.B. and Shayla Danielle Baker. (See id. at 1.) Plaintiffs are each Settlement

Class Members who did not opt out. The Settlement Agreement defines a Settlement Class

Member as “each Retired NFL Football Player, Representative Claimant and/or Derivative



                                               4
    Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 8 of 13




Claimant in the Settlement Class.” (Settlement Agreement, at § 2.1(jjjj).) Donnell Baker is a

Settlement Class Member because he is a Retired NFL Football Player who played NFL

football prior to July 7, 2014.1 (Id. at § 2.1(ffff).) Baker, D.J.B., and Shayla Danielle Baker,

meanwhile, are Settlement Class Members because they are Derivative Claimants insofar as

each is either a spouse or a child of Mr. Baker who “assert the right to sue independently or

derivatively by reason of their relationship with” Mr. Baker. (Id. at § 2.1(ee).)

                  On February 5, 2021, Plaintiffs filed their Complaint in the United States

District Court for the Southern District of New York. 2 On February 9, 2021, the NFL sent to

Baker a letter with a confirmed return receipt that thoroughly explained that Plaintiffs were

Settlement Class Members who released their claims, that any relief for Mr. Baker’s estate or

his family should be sought through the Settlement Program, and that Plaintiffs were

prohibited from bringing separate actions. The NFL received no response from Baker. On

March 2, 2021, Plaintiffs served the Complaint on the NFL. Plaintiffs have not yet served the

Complaint on NFL Enterprises LLC. The Complaint asserted claims for wrongful death,

negligence – survival action, and breach of implied contract arising out of the NFL Parties’

purported negligence, which allegedly caused Donnell Baker to sustain “numerous

concussions” as well as “countless sub-conclusive hits,” which “[u]pon [Baker’s] information

and belief,” caused his death and symptoms consistent with CTE. (See Baker Compl. ¶¶ 18,



1
    In fact, as a matter of record available to this Court, Mr. Baker registered in the Settlement Program in
    February 2017, prior to his death.
2
    At the same time, Plaintiffs filed substantially similar actions against the NFL and certain Member Clubs in
    four other federal district courts. (See 2:21-cv-01093-SB-MRW (C.D. Cal.); 3:21-cv-00131-HES-PDB
    (M.D. Fla.); 4:21-cv-00157 (E.D. Mo.); 3:21-cv-00058-RJC-DSC (W.D.N.C.).) In an order dated March
    15, 2021, the Case that was filed in the Central District of California was closed by the court after Plaintiffs’
    Request to Proceed Without Prepayment of Filing Fees was denied. In an order dated March 26, 2021, the
    Case that was filed in the Western District of North Carolina was also closed by the court after Plaintiffs’
    motion to proceed in forma pauperis was denied. Plaintiffs have not yet served the complaints for the other
    two actions on any defendant.


                                                         5
     Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 9 of 13




21–22.) Plaintiffs alleged that the NFL “tried to downplay the risk” between head trauma in

football and neurological diseases, including CTE (id. at ¶ 15), that it made “excuses for

concussions and head trauma in their sport as far back as 1994” (id. at ¶ 11), and that it “did

more to ensure that its players . . . were kept in harm’s way by downplaying the risk associated

with the game” (id. at ¶ 16).

               On March 16, 2021, the NFL filed a Notice of Potential Tag-Along Action with

the Judicial Panel on Multidistrict Litigation (the “Panel”). On March 26, 2021, the Panel

transferred the case to this Court as part of In re: National Football League Concussion Injury

Litigation, MDL No. 2323 (“MDL 2323”), holding that the action shared numerous common

questions of law and fact with the actions previously transferred to MDL 2323. See Order at

In re: National Football League Players’ Concussion Injury Litigation, MDL 2323 (J.P.M.L.

March 26, 2021), ECF No. 734.

                                        ARGUMENT

               The Court should dismiss with prejudice Plaintiffs’ claims because they were

released under the plain terms of the Settlement Agreement and dismissed with prejudice by

this Court’s Final Order and Judgment. Either reason constitutes an independent basis for

dismissing the Complaint with prejudice.

I.      PLAINTIFFS’ CLAIMS WERE RELEASED UNDER THE SETTLEMENT
        AGREEMENT AND SHOULD BE DISMISSED

               It is well settled that a “claim by a person who was a class member in a prior

class action suit is barred by a settlement of the class action where the settlement includes a

release applicable to his later individual action.” McGowan Inv’rs LP v. Keefe Bruyette &

Woods, Inc., 540 F. Supp. 2d 571, 576 (E.D. Pa. 2008) (Brody, J.); see also In re: Imprelis

Herbicide Mktg., Sales Pracs. & Prods. Liab. Litig., No. 11-md-2884, 2015 WL 7575910, at



                                               6
  Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 10 of 13




*1, 3 (E.D. Pa. Nov. 25, 2015) (granting, inter alia, a motion to dismiss where plaintiff was

“a class member who is properly bound by the Settlement”). A prior release bars a plaintiff’s

current claim where it (1) applies to the plaintiff; (2) circumscribes the asserted claims; and

(3) is legally enforceable. McGowan Inv’rs LP, 540 F. Supp. 2d at 576. These elements are

readily satisfied here. Plaintiffs are indisputably Settlement Class Members who could have

opted out of the Settlement Class, but did not. The Settlement’s release unambiguously bars

the football-related head injury claims asserted here, and the Settlement is legally enforceable,

as this Court and the Third Circuit have found.

               First, the release applies to each Plaintiff. The release extends to qualifying

claims brought by Settlement Class Members, and each Plaintiff qualifies a Settlement Class

Member according to the terms of the Settlement Agreement. (See Settlement Agreement, at

§§ 1.1 (definition of Settlement Class), 2.1(ee) (definition of “Derivative Claimant” (“means

spouses, parents, children who are dependents, or any other persons who properly under

applicable state law assert the right to sue independently or derivatively by reason of their

relationship with a Retired NFL Football Player or deceased Retired NFL Football Player”)),

2.1(ffff) (definition of “Retired NFL Football Players” (players who were on any Member

Club or league’s roster before July 7, 2014, but who, on or after July 7, 2014, were no longer

under contract to a Member Club)), and 2.1(jjjj) (definition of “Settlement Class Member”

(“each Retired NFL Football Player, Representative Claimant and/or Derivative Claimant in

the Settlement Class; provided, however, that the term Settlement Class Member as used

herein with respect to any right or obligation after the Final Approval Date does not include

any Opt Outs”)).)




                                               7
  Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 11 of 13




               Second, the release covers Plaintiffs’ claims, which all arise out of Mr. Baker’s

cognitive condition as a result of playing NFL football. (See Settlement Agreement § 18.1(a)

(waiving and releasing “all past, present and future claims” (i) “arising out of, or relating to,

head, brain and/or cognitive injury, as well as any injuries arising out of, or relating to,

concussions and/or subconcussive events,” (ii) “arising out of, or relating to, CTE,” or (iii)

that “could have been asserted in the Class Action Complaint or any other Related Lawsuit”).)

               Third, the release, which has been approved by this Court and affirmed by the

Third Circuit, is legally enforceable. (See Am. Final Order & J., ECF No. 6534); In re Nat’l

Football League Players Concussion Injury Litig., 821 F.3d at 420. There is no reasonable

basis on which to dispute that Plaintiffs’ claims were not released under the Settlement

Agreement. The Complaint should be dismissed.

II.    PLAINTIFFS’ CLAIMS ARE BARRED BY THE FINAL ORDER AND
       JUDGMENT AND SHOULD BE DISMISSED

               In addition to the Settlement Agreement’s release, the Final Order and

Judgment bars Plaintiffs’ claims against the NFL Parties premised on Mr. Baker’s “numerous

concussions” and “countless sub-conclusive hits” (Baker Compl. ¶ 18), under the doctrine of

claim preclusion because the Final Order and Judgment dismissed all Settlement Class

Members’ claims with prejudice. (See Am. Final Order & J. ¶¶ 10, 15, ECF No. 6534); see

also Pyle v. N.Y. Life Ins. Co., No. 07-cv-00360, 2008 WL 11510607, at *14 (W.D. Pa. Mar.

19, 2008) (“Because a class member’s individual claim ‘merges into the judgment granting

relief,’ thereby ‘extinguishing’ the class member’s individual claim, the doctrine of res

judicata bars any subsequent claims by a class member already litigated by the court rendering

the judgment on the class action settlement.”). Claim preclusion bars a plaintiff’s claim where

there is (1) a final judgment on the merits on a lawsuit; (2) involving the same parties or their



                                               8
  Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 12 of 13




privies; and (3) a separate suit is based on the same cause of action. See Marmon Coal Co. v.

Dir., Office of Workers’ Comp. Programs, 726 F.3d 387, 394 (3d Cir. 2013). Each element

is met here.

               First, the Court’s Final Order and Judgment approving the Settlement

Agreement and dismissing all claims—whether asserted or that “could have been asserted in

the Class Action Complaint or any other Related Lawsuit”—indisputably constitutes a final

judgment on the merits. (See Settlement Agreement § 18.1; Am. Final Order & J. ¶¶ 10, 19,

ECF No. 6534); see also Toscano v. Conn. Gen. Life Ins. Co., 288 F. Appx. 36, 38 (3d Cir.

2008) (“Judicially approved settlement agreements are considered final judgments on the

merits for purposes of claim preclusion.”).

               Second, Plaintiffs’ Complaint involves the “same parties or their privies” as

those involved in the Class Action Settlement because, as discussed above supra at 4–5, 7,

Plaintiffs were part of the Settlement Class and did not opt out, and the Settlement covered

the “NFL Parties (including all persons, entities, subsidiaries, divisions, and business units

composed thereby)” as “Released Parties.” (Settlement Agreement § 2.1 (bbbb).)

               Third, Plaintiffs’ Complaint constitutes a separate “suit based on the same

cause of action” asserted (and settled) by the Settlement Class—namely, injuries arising out

of, or relating to, concussions, subconcussive events, or CTE, allegedly sustained in

connection with NFL play. Accordingly, Plaintiffs’ claims should be dismissed pursuant to

the doctrine of claim preclusion. See Pyle, 2008 WL 11510607, at *14; Chartener v.

Provident Mut. Life Ins. Co., No. 02-cv-8045, 2004 WL 1091027, at *2 (E.D. Pa. May 13,

2004).




                                              9
    Case 2:12-md-02323-AB Document 11338-1 Filed 04/21/21 Page 13 of 13




                                             CONCLUSION

                 For the reasons stated, the NFL Parties respectfully request that the Court

dismiss with prejudice Plaintiffs’ Complaint filed in Connie Joann Baker, et al. v. National

Football League, et al., No. 21-cv-01493 (E.D. Pa.) (ECF No. 1). 3 Plaintiffs may submit a

claim to the Settlement Program to the extent that Mr. Baker received a Qualifying Diagnosis

prior to his death.



Dated: April 21, 2021                                         Respectfully submitted,


                                                               /s/ Brad S. Karp
                                                               Brad S. Karp
                                                               Bruce Birenboim
                                                               Claudia Hammerman
                                                               Lynn B. Bayard

                                                               PAUL, WEISS, RIFKIND,
                                                               WHARTON & GARRISON LLP
                                                               1285 Avenue of the Americas
                                                               New York, NY 10019-6064
                                                               bkarp@paulweiss.com
                                                               Main: 212.373.3000
                                                               Fax: 212.757.3990

                                                               TROUTMAN PEPPER LLP
                                                               Sean P. Fahey
                                                               3000 Two Logan Square
                                                               Eighteenth & Arch Streets
                                                               Philadelphia, PA 19103-2799
                                                               Tel: (215) 981-4000

                                                               Attorneys for the National Football
                                                               League and NFL Enterprises LLC




3
    The NFL Parties respectfully reserve all rights to separately move to dismiss the Complaint pursuant to Fed.
    R. Civ. P. 12(b)(6) for failure to state a claim.


                                                      10
